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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE

*************************************
Susan Falletta and Joseph Falletta  *
                                    *
Plaintiffs,                         *
                                    *               CASE NO: not yet assigned
                v.                  *
                                    *
Dr. Thomas Connelly, DDS and        *               COMPLAINT
Dr. Brian Hoertdoerfer, DDS         *
                                    *               JURY TRIAL DEMANDED
Defendants.                         *
*************************************


                                       PARTIES

       1.     The plaintiff, Susan Falletta, is an individual residing in North Troy,

Vermont.

       2.     The plaintiff, Joseph Falletta, is an individual residing in North Troy,

Vermont.

       3.     Joseph and Susan Falletta are married and were married at the time of all

relevant events outlined below.

       4.     The defendant, Dr. Thomas Connelly, DDS, is an individual with a known

residential address of 4 Crispwater Way, Hopkinton, Massachusetts, 01748-2794.

       5.     The defendant, Dr. Brian Hoertdoerfer, DDS is an individual who is a

citizen of and has a dental practice in New Hampshire, which his located at 4 Elliot Way,

#306 Manchester, New Hampshire, 03103.

                            JURISDICTION AND VENUE

       6.     This Court has jurisdiction over this action per 28 U.S.C. § 1332 because

there is a complete diversity of citizenship between the parties and the amount in

controversy exceeds $75,000 exclusive of interest and costs.
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        7.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2). The

plaintiffs are residents of Vermont and the alleged dental malpractice of the defendants

occurred in New Hampshire and all of the defendants at the time of the subject dental

malpractice were resided and/or transacted business in New Hampshire.

        8.        The plaintiffs hereby demand a trial by jury on all issues in this matter.

                                             FACTS

        9.        On April 26, 2011, Susan Falletta was a patient at the dental offices of Dr.

Brian Hoertdoerfer, DDS and had an initial consultation with Dr. Hoertdoerfer’s

colleague and agent, Dr. Thomas Connolly, DDS. During Dr. Connolly’s examination of

Susan Falletta, he recommended extensive dental restoration work and proposed veneers

and porcelain laminates for Susan Falletta’s teeth, #4-#9 and #21-28 and

porcelain/ceramic crowns for teeth #3, #10-#20 and #29-#30. Dr. Connelly’s estimated

cost for his services was approximately $40,000, which the Fallettas paid to Dr.

Hoertdoerfer.

        10.       On May 13, 2011, Dr. Connelly performed dental restoration work on

Susan Falletta.

        11.       On June 9, 2011, Dr. Connelly performed additional restorative dental

work.

        12.       On August 18, 2011, Susan Falletta returned to Dr. Connelly to report

problems with teeth #7 and #9.

        13.       On September 5, 2011, Dr. Connolly repaired tooth #7.

        14.       In the spring of 2012, Susan Falletta’s tooth #7 fell out and she had to seek

emergency dental services with Dr. Victor Ratkus, DDS for a root canal.



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        15.     On June 16, 2012, Susan Falletta returned to Dr. Connelly for additional

services to include a bite adjustment.

        16.     In July of 2012, Susan Falletta, then age 34, began to experience a cascade

of medical issues that resulted in the deterioration of her health including but not limited

to tachycardia, palpitations, sweating, episodic flushing, excessive fatigue, vomiting,

adrenaline rushes, compromised nail growth, persistent fevers, headaches, dizziness and

neuropathy of her extremities, as well as severe and debilitating headaches and jaw and

chest pain.

        17.     Ms. Falletta’s doctors remained perplexed as to the etiology of her

deteriorating health until April, 2013 when Dr. Megan Batchelder questioned whether

Ms. Falletta’s complex and debilitating symptoms were due to either an insidious dental

abscess and/or endocarditis.

        18.     In June 2013, the crown of tooth #19 fell off.        Ms. Falletta sought

treatment from a local family dentist, Eric Richter, DMD. Dr. Richter found that the

adhesive and restorative material used by Dr. Connelly was improper. Dr. Richter opined

that Dr. Connelly’s use of improper restorative compounds caused Ms. Falletta’s gums to

be irritated.

        19.     In January of 2014, Susan Falletta consulted with Dr. Lauren Shanard,

DDS due to her continuous and unresolved difficulties with Dr. Connelly’s dental work.

Dr. Shanard opined that Dr. Connelly’s work was not only esthetically displeasing but

fell far below the standard of reasonable dental care. She noted that Dr. Connelly’s work

resulted in Susan Falletta’s deteriorating periodontal health and that unsealed crowns and

bone tissue areas were compromised due to poor crown placement. Dr. Shanard also

diagnosed a displaced temporomandibular disc that contributed to Ms. Falletta’s ongoing
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pain. She also noted that her gums exhibited deep pockets, heavy bleeding and teeth

movement. Dr. Shanard agreed with Dr. Richter’s previous assessment that the

restorative compounds used by Dr. Connelly were inappropriate and that the size and

shape of the restorations were disproportionate, ill-fitting and unsuitable. Accordingly,

Dr. Shanard has recommended the complete removal of all of Dr. Connelly’s dental

work.

        20.    In January of 2014, Susan Falletta presented to periodontist Dr. Paul Levi,

DMD. Dr. Levi attributed Ms. Falletta’s ongoing inflammation and deteriorating

periodontal health to Dr. Connelly’s restorative work.

        21.    On July 25, 2014, Susan Falletta sought treatment with oral surgeon Paul

Danielson, DMD. Dr. Danielson noted that Susan Falletta was in constant pain and had

significant trouble eating because of markedly tender, clicking and popping bilateral

temporomandibular joints. Dr. Danielson ordered a temporary splint for Ms. Falletta’s

bite but determined that future temporomandibular joint surgery was necessary, as well as

a complete removal and reconstruction of Dr. Connolly’s defective restoration work.

        22.    Prior to Dr. Megan Batchelder’s discovery that the defendants’ defective

dental work was the cause of Susan Falletta’s deteriorating health, Ms. Falletta was

subjected to a myriad of tests, including numerous blood work, nuclear scans, heart

monitors, echocardiograms, and CAT scans of her neck, chest, abdomen, pelvis and

brain. She was referred to several specialists including, but not limited to, cardiologists,

rheumatologists, endocrinologists, gynecologists, dermatologists, and infectious disease

specialists. As Susan Falletta was referred from specialist to specialist in an attempt to

identify the cause of her deteriorating health, she and her husband, Joe, lived in constant

fear as doctors hypothesized that Susan Falletta may be suffering from cancer, connective
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tissue disease, acquired immune deficiency syndrome, brain tumors, bacterial

endocarditis, or carcinoid tumors.

       23.     Susan Falletta’s periodontal and overall physical health continues to

deteriorate. As a result of the defendants’ defective dental work, Ms. Falletta continues to

endure great pain and suffering. She experiences ongoing and debilitating jaw pain that

results in painful headaches, blurred and altered vision, ear pain, dizziness, chronic pain,

nausea and vomiting. All of the foregoing symptoms have caused Susan Falletta to lose a

dangerous amount of weight due to her inability to eat without jaw pain and her constant

vomiting.

       24.     Mr. and Mrs. Falletta’s marital relationship has also suffered.          The

Fallettas’ plans to start a family have been derailed since Susan Falletta continues to

endure prescriptive medicines in an effort to combat chronic bacterial infections and

ongoing gingivitis resulting from defendants’ dental malpractice.

       25.     Joseph Falletta has also suffered the loss of society, comfort,

companionship, and sexual relations with his wife as a result of the defendants’ conduct.

 COUNT I – NEGLIGENCE AND MEDICAL DENTAL MALPRACTICE AS TO
 DR.THOMAS CONNELLY, DDS AND DR. BRIAN HOERTDOERFER, DDS –
                       SUSAN FALLETTA

       26.     Paragraphs 1 through 25 as set forth above are hereby restated and

incorporated herein as if fully set forth in this paragraph.

       27.     Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer, DDS had a duty

to provide dental restoration services in a safe and reasonable manner in conformity with

all statutory and common law duties of the State of New Hampshire, as well as the

standards of reasonable and competent dental practice in their field of expertise. Said

duties included, but were not limited to, proper pre-restoration examination and
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assessment, an assessment of periodontal health, the performance of aesthetically

pleasing dental work and restorative work that did not cause or contribute to cause

deteriorating health to their patients.

        28.      Nevertheless, and in total disregard for the standards of reasonable dental

care, Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer, DDS breached these duties

and committed dental malpractice when they failed to perform a proper pre-restoration

assessment, failed to properly perform an assessment of periodontal health, failed to

perform aesthetically pleasing dental work and failed to perform restorative dental work

which caused deteriorating health to Susan Falletta.

        29.      As a direct and proximate cause of the negligent acts and medical dental

malpractice of Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer, DDS, Susan

Falletta has suffered and continues to suffer physical pain, emotional distress, past,

present and future medical expenses, future reconstructive and/or restoration work, future

temple mandibular joint surgery and permanent injury.

        30.      Wherefore, Susan Falletta demands judgment against Dr. Thomas

Connelly, DDS and Dr. Brian Hoertdoerfer, DDS in an amount sufficient to compensate

her for injuries and losses together with interest and costs within the jurisdictional limits

of this Court.

      COUNT II – NEGLIGENCE AND MEDICAL DENTAL MALPRACTICE
 AS TO DR. THOMAS CONNELLY, DDS AND DR. BRIAN HOERTDOERFER,
          DDS – LOSS OF CONSORTIUM – JOSEPH FALLETTA

        31.      The foregoing paragraphs 1 through 30 set forth above are hereby restated

and incorporated herein as if fully set forth in this paragraph.

        32.      Joseph Falletta is the husband of Susan Falletta. As a direct result of the

aforementioned negligence and dental malpractice of Dr. Thomas Connelly, DDS and Dr.
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Brian Hoertdoerfer, DDS, Joseph Falletta suffered the loss of society, comfort,

companionship, services, and sexual relations of his wife, all of which were causally

related to and reasonably foreseeable as a result of the negligent dental restoration work

and dental malpractice of Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer, DDS.

        33.     Joseph Falletta continues to experience ongoing pain, anguish and mental

suffering as a result of Susan Falletta’s ongoing and deteriorating health.

        34.     Wherefore, Joseph Falletta demands judgment against Dr. Thomas

Connelly, DDS and Dr. Brian Hoertdoerfer, DDS in an amount sufficient to compensate

him for his statutory claim for loss of consortium together with interest and costs within

the jurisdictional limits of this Court.

        COUNT III – VIOLATION OF NEW HAMPSHIRE’S CONSUMER
       PROTECTION ACT RSA 358-A – SUSAN AND JOSEPH FALLETTA

        35.     The foregoing paragraphs 1 through 34 set forth above are hereby restated

and incorporated herein as if fully set forth in this paragraph.

        36.     Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer, DDS had a duty

pursuant to New Hampshire’s Consumer Protection Act to conduct business within the

State of New Hampshire in accordance with statutory and common laws of the State of

New Hampshire. Said duties included, but were not limited to, accurate communication

and publication of dental services, accurate communication and publication of education,

training and experience, accurate communication and publication of affiliations with

dental licensing and peer organizations, accurate communication and publication of

professional certifications, and accurate communication and publication of competency

and expertise within the field of dental restoration services.




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       37.     Nevertheless, and in complete disregard for the foregoing statutory duties,

Dr. Thomas Connelly DDS and Dr. Brian Hoertdoerfer DDS participated in unfair and

deceptive trade practices involving dental commerce within the State of New Hampshire.

Said unfair and deceptive practices included, but were not limited to, false

communication of being a “dentist to the stars” like Angelina Jolie; false and deceptive

advertising regarding their education, training, experience; false and deceptive

advertising regarding their professional affiliations; and false representation that their

services were of a particular standard or quality with an intent not to provide said services

in the advertised manner.

       38.     As a direct and proximate cause of Dr. Thomas Connelly’s DDS and Dr.

Brian Hoertdoerfer’s DDS above-referenced violations of New Hampshire’s Consumer

Protection Act, Susan and Joseph Falletta are entitled to relief pursuant to RSA 358-A:10

including, but not limited to, an award of as much as three times but not less than two

times actual damages, in addition to costs and attorney’s fees.

   COUNT IV – NEGLIGENT MISREPRESENTATION SUSAN AND JOSEPH
                           FALLETTA

       39.     The foregoing paragraphs 1 through 38 set forth above are hereby restated

and incorporated herein as if fully set forth in this paragraph.

       40.     When advertising and conducting business in New Hampshire and holding

themselves out as qualified practitioners in the field of dentistry and cosmetic dentistry,

Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer, DDS each had the duty to

volunteer information to others not having equal knowledge, with the intention that they

will act upon it, to exercise reasonable care to verify the truth of any statements before

making them. In particular, Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer each

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had the duty to volunteer information about their respective qualifications, clientele,

experience, education, certifications, training, affiliations with dental licensing and peer

organizations, and competency and expertise within the field of dental restoration

services.

       41.     Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer knew or should

have known that Joseph and Susan Falletta did not have equal knowledge of their

qualifications, clientele, experience, education, certifications, training, affiliations with

dental licensing and peer organizations, and competency and expertise within the field of

dental restoration services, and with intention that Joseph and Susan Falletta would act

upon their representations by paying for services and allowing services to be performed,

Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer each failed to exercise

reasonable care to verify the truth of his own statements or those of the other about being

a “dentist to the stars” like Angelina Jolie; education, certifications, training, experience;

professional affiliations; and that their services are of a particular standard and quality.

       42.     Joseph and Susan Falletta justifiably and detrimentally relied on the

aforementioned representations when selecting Dr. Thomas Connelly, DDS and Dr. Brian

Hoertdoerfer, DDS to provide professional services to Susan Falletta and permitting the

former to provide services and paying for those services when, in fact, he was not

competent, qualified and/or certified as advertised, did not utilize the materials

represented, and did not employ the necessary and promised skill in providing those

services.

       43.     As a direct and proximate cause of Dr. Thomas Connelly’s and Dr. Brian

Hoertdoerfer’s above-referenced misrepresentations, Susan and Joseph Falletta have

suffered monetary damages; Susan Falletta has suffered and continues to suffer physical
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pain, emotional distress, past, present and future medical expenses, future reconstructive

and/or restoration work, future temple mandibular joint surgery and permanent injury;

and Joseph Falletta has suffered and continues to suffer ongoing pain, anguish and mental

suffering as a result of Susan Falletta’s ongoing and deteriorating health.

        44.     Wherefore, Joseph and Susan Falletta demand judgment against Dr.

Thomas Connelly, DDS and Dr. Brian Hoertdoerfer, DDS in an amount sufficient to

compensate them for injuries and losses together with interest and costs within the

jurisdictional limits of this Court.

 COUNT V – INTENTIONAL MISREPRESENTATION / FRAUD - SUSAN AND
                      JOSEPH FALLETTA

        45.   The foregoing paragraphs 1 through 44 set forth above are hereby restated

and incorporated herein as if fully set forth in this paragraph.

        46.   When advertising and conducting business in New Hampshire and holding

themselves out as qualified practitioners in the field of dentistry and cosmetic dentistry,

Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer, DDS were obligated to make

only truthful representations about their respective qualifications, clientele, experience,

education, certifications, training, affiliations with dental licensing and peer

organizations, and competency and expertise within the field of dental restoration

services.

        47.   Nevertheless, with knowledge of the falsity or with conscious indifference

to the truth and with the intention to cause Joseph and Susan Falletta to rely upon these

representations so as to secure profit from them, Dr. Thomas Connelly DDS and Dr.

Brian Hoertdoerfer DDS engaged in false communications of being a “dentist to the

stars” like Angelina Jolie; false and deceptive advertising regarding their education,

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training, experience; false and deceptive advertising regarding their professional

affiliations; and false representation that their services were of a particular standard and

quality.

        48.   Joseph and Susan Falletta justifiably and detrimentally relied on the

aforementioned representations when selecting Dr. Thomas Connelly, DDS and Dr. Brian

Hoertdoerfer, DDS to provide professional services to Susan Falletta and permitting the

former to provide services and paying for those services when, in fact, he was not

competent, qualified and/or certified as advertised, did not utilize the materials

represented, and did not employ the necessary and promised skill in providing those

services.

        49.   As a direct and proximate cause of Dr. Thomas Connelly’s and Dr. Brian

Hoertdoerfer’s above-referenced misrepresentations, Susan and Joseph Falletta have

suffered monetary damages; Susan Falletta has suffered and continues to suffer physical

pain, emotional distress, past, present and future medical expenses, future reconstructive

and/or restoration work, future temple mandibular joint surgery and permanent injury;

and Joseph Falletta has suffered and continues to suffer ongoing pain, anguish and mental

suffering as a result of Susan Falletta’s ongoing and deteriorating health.

        50.   Wherefore, Joseph and Susan Falletta demand judgment against Dr. Thomas

Connelly, DDS and Dr. Brian Hoertdoerfer, DDS in an amount sufficient to compensate

them for injuries and losses together with interest and costs within the jurisdictional

limits of this Court.




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                                                        DEMAND FOR RELIEF

             WHEREFORE, the plaintiffs, Susan Falletta and Joseph Falletta, demand a

judgment against Dr. Thomas Connelly, DDS and Dr. Brian Hoertdoerfer, DDS in an

amount to compensate them for all of their damages plus interest and attorney’s fees and

costs of this action as well as such equitable and legal relief as this Court deems

necessary and just.



  PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL COUNTS SO TRIABLE.



                                                                                 Respectfully submitted,

                                                                                 SUSAN AND JOSEPH FALLETTA

                                                                                 By Their Counsel,

                                                                                 GETMAN, SCHULTHESS, STEERE
                                                                                 & POULIN, P.A.


Dated: January 26, 2016                                                  By:       /s/ Elizabeth L. Hurley
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                                                                                 Elizabeth L. Hurley, Esquire (NH Bar # 16851)
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